Case 1:98-cV-Ol263-.]DB-STA Document 202 Filed 06/03/05 Page 1 of 2 Page|D 120

IN THE UNITED STATES DISTRICT coURT 0 \~D.c.
FoR THE WESTERN DISTRICT 0F TENNESSEE 5 JUN -.3 PH
EASTERN DIVISION m "’ 115
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GARY ARNETT, sHELLY ARNETT, and W?§RK us_Dé,ST§OUo
JoHN PAUL ARNETT, by next friend ' OF TN .;ACKS%R
GARY ARNETT,
Plaintiffs,
v. No. 98-1263

GARY MYERS as Executive Director
of the Tennessee Wildlife Resources
Agency, et ai.,

Defendants.

ORDER OF REFERENCE

 

The above action is hereby referred to the Honorable S. Thomas Anderson, U.S. Magistrate

Judge, for the purpose of conducting a settlement conference in August, 2005 .

/OM

J. DANIEL ‘BREEN "
NI ED STATES DISTRICT JUDGE

-`j<-»-vu\ 3 j 2902-id
DATE `

IT IS SO ORDERED.

 

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‘.vith Rule 58 and/or 79 (a) FHCP on ~D

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UNITE`DSTATES DISTRICT OURT- WESETRNDTISRIC OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 202 in
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Honorable J. Breen
US DISTRICT COURT

